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          IN THE UNITED STATES DISTRICT COURT
         FOR THE NORTHERN DISTRICT OF GEORGIA
                    ATLANTA DIVISION


IN RE GEORGIA SENATE BILL 202            Master Case No.:
                                         1:21-MI-55555-JPB



UNITED STATES OF AMERICA,
                                         Civil Action No.:
             Plaintiff,                  1:21-CV-02575-JPB

               v.

THE STATE OF GEORGIA, et al.,

             Defendants,

REPUBLICAN NATIONAL
COMMITTEE, et al.,

             Intervenor-Defendants.



    STATE DEFENDANTS’ BRIEF IN SUPPORT OF MOTION
     FOR RECONSIDERATION OR, IN THE ALTERNATIVE,
         CERTIFICATION FOR IMMEDIATE APPEAL
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                               INTRODUCTION

      While State Defendants appreciate this Court’s diligent management of

the sprawling litigation, the Court’s recent decision declining to dismiss the

single claim asserted by the U.S. Department of Justice ignored controlling

precedent when it held that § 2 claims under the Voting Rights Act may

proceed by claiming only discriminatory intent. Specifically, in Johnson v.

DeSoto County Board of Commissioners, 72 F.3d 1556 (11th Cir. 1996), the

Eleventh Circuit held that plaintiffs in all § 2 cases must plead and prove

discriminatory results. Contrary to this Court’s view, the Johnson court did

not limit its holding to vote-dilution cases.      Rather, relying on the plain

language of § 2, Johnson expressly and repeatedly stated that its requirement

of discriminatory results applied to all § 2 claims. It is unsurprising, then, that

the Eleventh Circuit has reaffirmed this holding even outside of the vote

dilution context.

      Contrary to this Court’s understanding, moreover, the Supreme Court’s

recent decision in Brnovich v. Democratic National Committee, 141 S. Ct. 2321

(2021), does not require or authorize the departure from Johnson. Brnovich

addressed not only a § 2 claim, but also a Fifteenth Amendment claim, which

requires proof of discriminatory intent, and which is undoubtedly why the

Brnovich Court felt obligated to address that issue on the merits.        But the
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Brnovich Court’s decision to undertake that analysis in that case does not

undermine Johnson’s holding on the necessity of pleading and proving

discriminatory results in a § 2 case.

      In any event, this Court lacks the authority to limit or narrow an

Eleventh Circuit holding and, indeed, is obligated even to follow Eleventh

Circuit dicta.   Unless or until the Eleventh Circuit narrows the scope of

Johnson, this Court is obligated to apply Johnson as written—all § 2 claims

require a plaintiff to plead and prove discriminatory results. Accordingly, the

Court should reconsider its decision and follow Johnson, which would require

dismissal of the Department’s Complaint.

      Alternatively, the Court should certify this issue for immediate appeal.

See 28 U.S.C. § 1292(b). This issue presents a controlling question of law where

an appeal will materially advance the ultimate termination of the litigation.

Indeed, if State Defendants are correct, the Department’s Complaint must be

dismissed. Accordingly, if the Court does not reverse course on its own, the

Court should certify this issue for immediate appeal so that the Eleventh

Circuit may address Johnson’s scope, in light of Brnovich.




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                                ARGUMENT

I.    This Court Should Grant Reconsideration Because Controlling
      Eleventh Circuit Authority Requires Plaintiffs in All § 2 Cases to
      Plead and Prove Discriminatory Results.

      The Department’s one-count Complaint alleges as its sole basis for

invalidating SB 202 that the law was enacted with a discriminatory purpose.

As this Court noted, “The United States contends that SB 202 violates § 2 of

the VRA because the challenged provisions ‘were adopted with the purpose of

denying or abridging Black citizens’ equal access to the political process.’

Compl. ¶ 161, ECF No. 1.” Order at 6. In support of their motion to dismiss,

see [Doc. 38], State Defendants showed that the Complaint should be dismissed

because the Eleventh Circuit’s controlling decision in Johnson requires a

plaintiff bringing a § 2 claim to plead and prove, not just discriminatory

purpose, but discriminatory results as well. The Department opposed the

motion on the ground that “Plaintiffs who bring a Section 2 purpose claim need

not also plead and prove a Section 2 results claim.” Opp. at 19 [Doc. 58]. This

Court rejected State Defendants’ argument on the view that Johnson requires

a showing of discriminatory results only in vote-dilution cases. See Order

at 14–15. But Johnson is not so narrow. For the following five reasons, the

Court should reconsider that ruling.




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      A.    The Holding of Johnson Applies to All § 2 Cases.

      First, Johnson carefully framed its holding as applying to all § 2 claims—

with no exceptions. It held that the “statutory language [of § 2] expressly

requires a showing of discriminatory results, and it admits of no exception for

situations in which there is discriminatory intent but no discriminatory

results.” Johnson, 72 F.3d at 1563 (emphasis added). Yet in its Order, this

Court created an exception—and a broad one—for all cases other than

vote-dilution cases. That exception swallows the Johnson rule almost entirely.

      Yet the Eleventh Circuit did not use casual or loose language in

Johnson’s holding. It repeatedly and precisely explained that § 2 plaintiffs, all

of them, must plead and prove discriminatory results.            See id. at 1561

(“DISCRIMINATORY INTENT ALONE IS INSUFFICIENT TO ESTABLISH

A VIOLATION OF SECTION 2”) (heading of Section II-B of opinion;

capitalization in original); id. at 1562 (rejecting the view “that some § 2

plaintiffs may prevail without showing discriminatory results” because

“discriminatory results must be shown in order to establish a § 2 violation”)

(emphasis added); id. at 1564 (“[W]e cannot read the results requirement out

of § 2 … [I]n order to prevail on a § 2 claim, a plaintiff must prove

discriminatory results”); id. (“[O]ur holding [is] that intent alone is insufficient

to establish a § 2 violation”); id. (“The statute itself requires that


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discriminatory results be shown”). None of these statements limits Johnson’s

reach.

      By contrast, in its Order, this Court incorrectly concluded that Johnson

“is distinguishable from the circumstances at bar because it involved a vote

dilution case.” Order at 14 (emphasis in original).        While it is true that

Johnson was a vote-dilution case, the Eleventh Circuit bottomed its decision

in Johnson, not on anything peculiar to vote dilution cases, but on “the plain

language of § 2.” Johnson, 72 F.3d at 1563. Quoting subsection 2(a), the Court

emphasized that the text of § 2 speaks of results. “[T]he plain language of § 2

… states:     ‘No voting qualification or prerequisite to voting or standard,

practice, or procedure shall be imposed or applied by any State or political

subdivision in a manner which results in a denial or abridgement of the right

of any citizen of the United States to vote on account of race or color ….’” Id.

(quoting former 42 U.S.C. § 1973(a), now 52 U.S.C. § 10301(a)) (emphasis in

Johnson). The plain language of subsection 2(a), of course, is not limited to

vote-dilution cases. It applies to all § 2 cases, including this one.

      So does the holding of Johnson. After quoting the foregoing text of

subsection 2(a), the Johnson Court commented: “That statutory language

expressly requires a showing of discriminatory results, and it admits of no

exception for situations in which there is discriminatory intent but no

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discriminatory results.” Id. (emphasis added). Neither the text of § 2 nor

Johnson itself authorized a judge-made exception for non-vote dilution cases.

        Subsection 2(b) of the VRA provides that “A violation of subsection (a) is

established if, based on the totality of circumstances,” the plaintiff makes a

certain showing of discriminatory results then specified in 2(b). 52 U.S.C.

§ 10301(b) (emphasis added). The first sentence of subsection 2(b) states in

full:

              A violation of subsection (a) is established if, based on
              the totality of circumstances, it is shown that the
              political processes leading to nomination or election in
              the State or political subdivision are not equally open
              to participation by members of a class of citizens
              protected by subsection (a) in that its members have
              less opportunity than other members of the electorate
              to participate in the political process and to elect
              representatives of their choice.

Id. The “totality of circumstances” referred to in subsection 2(b) therefore goes

to how the discriminatory results requirement of subsection 2(a) may be

satisfied. Here, however, the Department deliberately chose not to plead a

discriminatory results claim.       Thus, no consideration of the “totality of

circumstances” can overcome the Department’s failure to plead a results claim.

Cf. Order at 10–12.




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       B.     The Eleventh Circuit Has Applied Johnson Outside the
              Vote Dilution Context.

       In any event, the Eleventh Circuit has applied Johnson outside the

context of vote-dilution cases, which reconfirms that Johnson is not limited to

that context. For example, in Brooks v. Miller, 158 F.3d 1230 (11th Cir. 1998),

the Court considered a § 2 challenge to Georgia’s primary runoff rule, which

requires a runoff election if no candidate in a primary election receives a

majority of votes. Brooks did not involve a vote-dilution claim; the plaintiffs

alleged that the primary runoff rule deterred black candidates from running

for office.

       In Brooks, moreover, the Court rejected the plaintiffs’ argument “that a

showing of discriminatory purpose alone is sufficient for a violation of § 2.” Id.

at 1237. The Court explained that “we are bound by Johnson v. DeSoto County

Bd. of Comm’rs, 72 F.3d 1556 (11th Cir. 1996), which held that discriminatory

intent alone, in the absence of a showing of discriminatory effect, is insufficient

to establish a violation of § 2.” Brooks, 158 F.3d at 1237. Like Johnson, and

contrary to this Court’s ruling, Brooks did not cabin the rule requiring

discriminatory results to certain kinds of § 2 cases.




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      C.       Johnson Was Not Overruled Or Even Undermined By
               Brnovich.

      In its Order, this Court nevertheless stated that the “State Defendants’

expansive interpretation of [Johnson] is questionable in light of the Supreme

Court’s recent express consideration of a discriminatory purpose claim” in

Brnovich. Order at 15 (emphasis added). This Court went on to say that

“Presumably, the Supreme Court would have rejected the plaintiffs’

discriminatory purpose claim if, as State Defendants contend, such a claim

were invalid as a matter of law.” Id. The Court’s conclusion, however, does

not hold up.

      In Brnovich, the Ninth Circuit had held that an Arizona law was enacted

for a discriminatory purpose and thus violated what the Ninth Circuit had

deemed the “‘intent test’ of Section 2.” Democratic Nat’l Comm. v. Hobbs, 948

F.3d 989, 1038 (9th Cir. 2020), rev’d, Brnovich, 141 S. Ct. 2321. The Supreme

Court held that the Ninth Circuit was wrong on the facts because the law’s

purpose was not, in fact, discriminatory. See 141 S. Ct. at 2348–50.

      This Court’s suggestion that, if Johnson were correct, Brnovich

“[p]resumably … would have rejected the plaintiffs’ discriminatory purpose

claim … as a matter of law,” Order at 15, is mistaken. The Supreme Court did




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not grant certiorari in Brnovich to decide if § 2 intent-only claims are viable.

In other words, the Johnson issue was not before the Court in Brnovich.

      Unlike the Department here, moreover, the Brnovich plaintiffs did not

limit themselves to an intent-only § 2 claim. They brought both a § 2 claim

and a Fifteenth Amendment claim, and in support of both claims they alleged

both discriminatory results and discriminatory purpose. See 141 S. Ct. at 2334

(plaintiffs claimed that Arizona’s voting restrictions “adversely and disparately

affect” minorities and alleged one “restriction was ‘enacted with discriminatory

intent’ and thus violated both § 2 of the VRA and the Fifteenth Amendment”).

Proof of such discriminatory intent is required to establish a Fifteenth

Amendment violation. See Greater Birmingham Ministries v. Sec’y of State for

State of Ala., 992 F.3d 1299, 1321 (11th Cir. 2021) (“If Plaintiffs are unable to

establish both intent and effect, their constitutional claims [under the

Fourteenth and Fifteenth Amendments] fail.”) (emphasis in original); id.

at 1328–29 (“Unlike discrimination claims brought pursuant to the Fourteenth

and Fifteenth Amendments, which require proof of both discriminatory intent

and actual discriminatory effect, the language of Section 2(a) of the VRA

requires only proof of discriminatory “results,” not of discriminatory intent.”).

Moreover, as Johnson explained, proof of discriminatory intent may be

circumstantial evidence of discriminatory results in a § 2 case. See infra at 11–

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12. Therefore, the Supreme Court in Brnovich could not have disregarded as

irrelevant the Ninth Circuit’s rejection of the district court’s finding of no

discriminatory intent.

      Such an approach would have been especially implausible given that the

Ninth Circuit’s treatment of the district court’s discriminatory intent finding

was one of the questions on which the Court had granted certiorari: The second

Question Presented in the petition granted and consolidated with Brnovich

was: “Whether the Ninth Circuit correctly held that Arizona’s ballot-

harvesting prohibition was tainted by discriminatory intent[.]”             Ariz.

Republican Party v. Democratic Nat’l Comm., 141 S. Ct. 2321 (2021) (No. 19-

1258) (consolidated with Brnovich, No. 19-1257). The fact that the Court

granted certiorari on and answered that question does not cast doubt on

Johnson: The question whether a § 2 claim may be brought based on alleged

discriminatory intent alone, as the Department has done here, was not

squarely before the Court in Brnovich.

      To be sure, unlike the Eleventh Circuit, the Ninth Circuit believes there

is a free-standing “intent test” that can itself be a basis for a claim under § 2.

See Hobbs, 948 F.3d at 1011 (“A violation of Section 2 may now be shown under

either the results test or the intent test.”). But in Johnson, as explained at

length above, the Eleventh Circuit held otherwise. And this Court is required

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to follow the precedents of the Eleventh Circuit, not the Ninth. See In re

Hubbard, 803 F.3d 1298, 1309 (11th Cir. 2015) (holding that “the district court

inadvertently transgressed the fundamental rule that courts of this circuit are

bound by the precedent of this circuit” by following out-of-circuit precedent).

      D.    Johnson Would Be Binding Even if It Were Dictum, and
            Even if Brnovich Implicitly Undermined It.

      In all events, whether Brnovich renders Johnson “questionable” (Order

at 15) is a matter for the Eleventh Circuit to decide. This Court should apply

Johnson as written unless and until the Eleventh Circuit says otherwise. See

Cargill v. Turpin, 120 F.3d 1366, 1386 (11th Cir. 1997) (“The law of this circuit

is ‘emphatic’ that only the Supreme Court or this court sitting en banc can

judicially overrule a prior panel decision.”).

      That is true, moreover, even if the Johnson rule that all § 2 cases require

discriminatory results could be viewed as dictum outside of the vote-dilution

context. Even in that situation, lower courts would not “be free to ignore it.”

Johnson, 72 F.3d at 1562 n.7. That is because even the carefully considered

dictum of a higher court must be followed.

      Indeed, Johnson explained that the Eleventh Circuit must “treat[] as

authoritative” and follow “[c]arefully considered statements of the Supreme

Court, even if technically dictum.” Id. And so too here: Just as the Eleventh



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Circuit is bound by the carefully considered dictum of the Supreme Court,

district courts within the Circuit are bound by the Circuit’s dictum.

        In short, the Eleventh Circuit follows the rule that “there is dicta, and

then there is Supreme Court dicta.” Schwab v. Crosby, 451 F.3d 1308, 1325

(11th Cir. 2006). And for district courts, the rule is that there is dicta and then

there is Eleventh Circuit dicta—with the latter being binding on this Court.

        E.    Applying the Johnson Rule in Every § 2 Case Makes Sense.

        Brooks’ understanding of Johnson’s scope also represents the most

sensible reading of § 2.       Johnson does not make discriminatory intent

meaningless in § 2 cases. Indeed, Johnson squarely acknowledged that “proof

of intent to discriminate is not irrelevant in a § 2 action. It is circumstantial

evidence of discriminatory results that should be considered in assessing the

‘totality of the circumstances.’” Johnson, 72 F.3d at 1565. Further, “[w]here it

can be inferred, as it often can be, that the enactors were in a good position to

know the effect their actions would have, the fact that the enactment was

motivated by a desire to produce discriminatory results will often be strong,

albeit circumstantial, evidence that such results were achieved.” Id. But a

plaintiff may not bring a § 2 action that relies on alleged discriminatory intent

alone. That is the first rule of Johnson. The Department’s claim violates that

rule.


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      It is also important to remember that the defendant-friendly rule that

§ 2 requires proof of discriminatory results is the corollary to the plaintiff-

friendly rule that § 2 does not require proof of discriminatory intent. See

Johnson v. Governor of State of Fla., 405 F.3d 1214, 1227 (11th Cir. 2005)

(“Congress amended Section 2 of the Voting Rights Act so that a plaintiff could

establish a violation without proving discriminatory intent.”).         Because

plaintiffs in § 2 cases are not required to show discriminatory intent, common

sense (not to mention Circuit precedent) dictates that they must be required to

show something else. That something else is discriminatory results. See

Greater Birmingham Ministries, 992 F.3d at 1329 (“Section 2(a) of the VRA

requires only proof of discriminatory ‘results,’ not of discriminatory intent.”)

(rejecting § 2 challenge to Alabama’s Photo Voter ID Law). State Defendants

know of no Eleventh Circuit case, and the Department has cited none, holding

that a plaintiff in a § 2 vote-denial case (or however the instant case should be

characterized), or in any § 2 case for that matter, may plead only

discriminatory intent and thereby avoid the obligation to plead and prove

discriminatory results. Reconsideration should be granted.




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II.   An Immediate Appeal of the Order Should Be Allowed if The
      Court Does Not Reconsider It.

      If this Court does not reconsider the Order, it should certify it for

immediate appeal under 28 U.S.C. § 1292(b). That statute provides: “When a

district judge, in making in a civil action an order not otherwise appealable

under this section, shall be of the opinion that such order involves a controlling

question of law as to which there is substantial ground for difference of opinion

and that an immediate appeal from the order may materially advance the

ultimate termination of the litigation, he shall so state in writing in such

order.” Id.

      All of the required elements of 28 U.S.C. § 1292(b) are satisfied here.

First, whether Johnson and Brooks require all § 2 plaintiffs to plead and prove

discriminatory results is no doubt a “controlling question of law.” Id. It is what

the Eleventh Circuit would describe as “a pure, controlling question of law”

that “the court of appeals can rule on” but “without having to delve beyond the

surface of the record in order to determine the facts.” McFarlin v. Conseco

Servs., LLC, 381 F.3d 1251, 1259 (11th Cir. 2004).

      Second, although this Court did not adopt Defendants’ reading of

Johnson, it cannot be denied that State Defendants’ reading is a strong one.

There is, in other words, a “substantial ground for difference of opinion.” 28



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U.S.C. § 1292(b).    Given that Johnson nowhere limited its holding to

vote-dilution claims, but seemed to extend its rule to all § 2 cases, it cannot be

said that the Eleventh Circuit is “in complete and unequivocal agreement with

the district court.” McFarlin, 381 F.3d at 1258 (quotation marks omitted). The

second requirement of § 1292(b) therefore is satisfied here.

      Third, an immediate appeal would “materially advance the ultimate

termination of the litigation.” 28 U.S.C. § 1292(b). As the Eleventh Circuit

has pointed out, “[t]his is not a difficult requirement to understand. It means

that resolution of a controlling legal question would serve to avoid a trial or

otherwise substantially shorten the litigation.” McFarlin, 381 F.3d at 1259.

Here, if State Defendants prevail on the Johnson issue, the Department’s

Complaint must be dismissed, which obviously would “substantially shorten

the litigation.”

      In short, this and all of the requirements of § 1292(b) are satisfied here.

Cf. id. (“The antithesis of a proper § 1292(b) appeal is one that turns on

whether there is a genuine issue of fact or whether the district court properly

applied settled law to the facts or evidence of a particular case.”). Accordingly,

if this Court does not wish to revisit its holding on the legal viability of the

Department’s intent-only § 2 claim, it should certify the issue to the Eleventh

Circuit.

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                              CONCLUSION

      In Johnson, the Eleventh Circuit concluded that “we cannot read the

results requirement out of § 2.” 72 F.3d at 1564. This Court’s Order, however,

did just that, dispensing with the results requirement for all § 2 cases other

than those involving alleged vote dilution. Because this Court’s Order cannot

be squared with Johnson, reconsideration or, in the alternative, certification

for immediate appeal should be granted.

                                    Respectfully submitted,

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                    CERTIFICATE OF COMPLIANCE

      Pursuant to L.R. 7.1(D), the undersigned hereby certifies that the

foregoing Motion has been prepared in Century Schoolbook 13, a font and type

selection approved by the Court in L.R. 5.1(B).

                                          /s/ Gene C. Schaerr
                                          Gene C. Schaerr
